Case 08-13141-BLS Doc 1307-5 Filed 06/08/09 Pageiof1

CERTIFICATE OF SERVICE
I, GLENN A. BROWN, DMD, ESQUIRE, hereby certify that, on June 7, 2009, I
caused a true and correct copy of the foregoing Amended Motion for Relief From Stay to
be served by CM/ECF which will provide notice of such filing on:
All Parties Registered for Such Notice.
By First Class Mail, Postage Prepaid:

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